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 6                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE

 8    HARVEY L. TALBERT,                                CASE NO. C19-1468 RSM

 9                   Plaintiff,                         ORDER DENYING PLAINTIFF’S
                                                        MOTION TO AMEND SCHEDULING
10           v.                                         ORDER

11    CR BARD INCORPORATED, BARD
      PERIPHERAL VASCULAR
12    INCORPORATED,

13                   Defendants.

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15          This matter is before the Court on Plaintiff’s Motion to Amend Scheduling Order. Dkt.

16   #28. Plaintiff seeks to alter the existing scheduling order so he may “speak with and/or depose

17   the physician who removed the defective [vascular] filter” at issue in this case. Id. at 2.

18   Defendant opposes the request. Dkt. #29. Plaintiff has not replied to Defendant’s opposition.

19   Having considered the matter, the Court denies Plaintiff’s motion.

20          This matter began in multidistrict litigation proceedings before the U.S. District Court for

21   the District of Arizona. Dkt. #19 at 2. Following common fact and expert discovery, the matter

22   was transferred to this Court on August 20, 2019. Id. Because case specific discovery remained,

23   the parties jointly asked that the Court enter a scheduling order and provided specific deadlines

24   for “case-specific discovery, case-specific dispositive motions and case-specific Daubert

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 1   motions (if any).” Id. at 3; Dkt. #17-1 at 1–4. The Court entered the requested scheduling order

 2   on December 3, 2019. Dkt. #19. In July 2020, and in light of the COVID-19 pandemic, the

 3   parties jointly sought an amended scheduling order as they had only been able to depose one fact

 4   witness. Dkt. #24 at 1. The parties indicated that they were “continuing their efforts to coordinate

 5   the depositions of additional fact witnesses, including treating physicians, and” requested that

 6   the scheduling order be condensed to allow additional time for fact discovery without altering

 7   the deadlines for Daubert motions or the trial date. Id. at 1–2. Of particular relevance to this

 8   motion, the Court extended the fact discovery deadline to September 10, 2020 and the Plaintiff’s

 9   expert report deadline to September 21, 2020.

10          The Court may alter a scheduling order “only for good cause.” FED. R. CIV. P. 16. “Rule

11   16(b)’s ‘good cause’ standard primarily considers the diligence of the party seeking amendment.

12   The district court may modify the pretrial schedule ‘if it cannot reasonably be met despite the

13   diligence of the party seeking the extension.’” Johnson v. Mammoth Recreations, Inc., 975 F.2d

14   604, 609 (9th Cir. 1992) (citing FED. R. CIV. P. 16 Advisory Committee’s Notes (1983

15   Amendment)). The Court’s local rules similarly note the need for parties to proceed with

16   diligence. See Local Rules W.D. Wash. LCR 16(b)(6) (“The parties are bound by the dates

17   specified in the scheduling order. A schedule may be modified only for good cause and with the

18   judge’s consent. Mere failure to complete discovery within the time allowed does not constitute

19   good cause for an extension or continuance.”).

20          Plaintiff filed his motion on September 21, 2020, after the fact discovery deadline had

21   expired and the day on which the expert report deadline expired. Dkt. #28. Sidestepping

22   diligence, Plaintiff cast his motion as one seeking relief from the unexpired expert report deadline

23   instead of one seeking relief from the expired fact discovery deadline. Id. at 2 (“to properly

24   disclose case specific experts, Plaintiff needs to speak with and/or depose the physician who

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 1   removed the defective filter”); c.f. FED. R. CIV. P. 6(b)(1)(B) (court may extend a deadline “on

 2   motion made after the time has expired if the party failed to act because of excusable neglect”).

 3   But Plaintiff is seeking facts from the treating physician—regardless of how the Plaintiff intends

 4   to utilize them—and the Court is not convinced that Plaintiff has acted diligently in securing the

 5   treating physician’s testimony.

 6           Plaintiff indicates only that he made repeated efforts to communicate with the physician

 7   but that he “has been unable to secure [the physician’s] agreement to appear at deposition or

 8   speak with the witness by telephone.” Dkt. #28 at 2. This wholly discounts Plaintiff’s ability to

 9   subpoena witnesses. FED. R. CIV. P. 45. Plaintiff’s efforts also do not appear diligent as the

10   parties were before the Court in July and sought to extend the fact discovery deadline for only

11   two months. Dkt. #24. At that time, Plaintiff must have been aware of the limited time available

12   for fact discovery and the difficulties of pursing discovery in light of the COVID-19 pandemic.

13   Yet Plaintiff took no precautions to assure that he could complete fact discovery within the time

14   requested by the parties and allowed by the Court.

15           Plaintiff also fails to explain why he was unable to bring this motion prior to the expiration

16   of the parties’ requested fact discovery deadline. In this regard, Plaintiff provides an overly

17   generalized explanation that his counsel’s “mother was recently diagnosed with two forms of

18   advance stage cancer and has required 24 hour supervision while recovering from post-operative

19   complications and due to the effects of the cancers.” Dkt. #28 at 3. The Court is certainly

20   sympathetic, but Plaintiff does not provide any indication of when this occurred relative to

21   communications with the treating physician, the fact discovery deadline, or the filing of this

22   motion. Additionally, the explanation wholly ignores that multiple attorneys have appeared for

23   Plaintiff in this action.

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 1          Accordingly, having considered Plaintiff’s motion, the briefing, and the remainder of the

 2   record, the Court hereby finds and ORDERS that Plaintiff’s Motion to Amend Scheduling Order

 3   (Dkt. #28) is DENIED.

 4          Dated this 6th day of November, 2020.

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                                                 RICARDO S. MARTINEZ
 8                                               CHIEF UNITED STATES DISTRICT JUDGE

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